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Luger thinks his manliness does. That is deplorable and he is sorely mistaken,

Let me add this: No champion in anything athletic or otherwise becomes a champion because
of drugs. It's a fing joke to believe otherwise, A loser's joke concocted by those who don't have
what it takes to succeed at anything; people who are failures even at waking up each day.
Incredible hard work, incredible foke and incredible self-discipline is what it to be a champion.
Luger and a ton of others need to get a better gtip on this. Luger needs to have more
confidence in knowing it so he can get his Cro-magnon head out of his ass and move beyond
the ring if no more opportunities are there. Others need to know that taking all the drugs in
the world won't make you a champion if you don't have the real stuff it takes.

As long as Luger refuses to put it in that perspective, and he keeps irrationally believing
otherwise, as it so seemis...well, the guy's got one whole leg in the grave, and I'l say what
others are thinking — he should've gone to the morgue, not Elizabeth, Chances are better than
great anyway that whatever she found herself into Luger was her tutor and supplier.

When Henning died many stepped forward to talk about how funny he was, | found it funny
that none of his immediate friends or colleagues stepped forward to add that he was obviously
very, very stupid and disturbed, as well, A forty-four year old family man with a wife and 3-4
kids depending on him, sprawled out ona budget hotel room bed OD’ed on cacaine is very
stupid and irresponsible. I wonder if he still got charged for the room.

Wrestling in front of 200 people after you have had a successful career wrestling in front of tens
of thousands is not love for the business. It’s idiocy and says something very serious about the
lack of character and rational self-esteem a grown-up man does not have,

A young kid wanting to live out his dream can have legitimate reasons for doing so; a mature
grown man, especially one with a family, can’t, And that he rationalizes some, simply
forecasts an irresponsible heading toward a train wreck.

Henning’s life was that train wreck getting ready to happen and others saw it. Yet nobody was
friend enough to step in. I guess that’s why they say with friends like that who needs enemies,
and why after Curt turned up DOA all his friends could come up with was: “Curt was funny.
Boy, he was funny.”

Curt made the choice to end up dead instead of the choice to grow up. He was ok with it. I'm
ok with it.

Our streets and neighborhoods just don’t need more adults (especially males) who are
irresponsible and afraid to grow up. Whatever works toward that goal we should embrace,
including quick, bloodless, deadly self-destruction. Man, that’s heelish isn’t it? Aw shucks, my
mind's eyes say leave it in...

Callous? Outrageous? Maybe. But then again ] may just be offended, myself, because I'm
thinking about protecting my own kids growing up in a world where sympathy for low-life

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behaviors is promoted more than the necessary seriousness we need to have about the conduct
of our own lives and the judgments we must make regarding the conduct of others,

Decent, thinking and truly caring people in this country have gone to such bend-over-
backwards extremes in tolerating hateful, egregious subhuman actions, the least I can do as a

adult man with a chest big enough is brazenly put forward extreme thoughts. Anyone witha
problem in tolerating those can do a hell of a lot more than kiss my ass.

There are a lot of whoremongering informants wondering what it all means that still-young
former talent are regularly found ina state of igor mortis and how do we stop it and how sick

you all are of it, Like you really care...give me a break. You people aren't even good at your
cons...

Let me first assure you, at almost 44 years of age, I'm not buying into the voodoo jinx of it all -
in fact, | dare the grim reaper to take me before I finish this post —- come on you ugly bastard ~
STOP MY CLOCK! Just try it! I spit in your face ~ oh, forgot to take my pills and do my
cocaine. Damn, I knew there was a trick to it...and a swig of whiskey to wash it down ought to
seta somber tone for dying that is just right...

Hey I told you ~ I won’t be an easy kill. Death will have to work hard to take me.

My wholesome warrior suggestion is that you quit being hypocrites and stop patronizing the
industry, entirely, People who choose death will end up dead. I know that statement is
absolutely brilliant on my part ~ still the same, don’t let its beauty have you overlook its truth.
People will do what they are hell-bent on doing and no amount of sympathetic pleading is
going to change that. Quit giving it your energies. Sit back and enjoy the deathwatch.
Expending effort at the sake of using it for things productive to your own lives is stupid and
irresponsible all by itself (without the high to fallaciously enjoy it).

Truth is -- while you keep patronizing the industry you feed the debauchery, and even the
death. See the patronage as the death knell to talent. Come on, you have to know you're
participating in the killing and just laughing silly all the way to the morgue. And, let me
enlighten you and be more bold, come out of my shell a little here, even chance offending
people unlike how I have tried very hard not to do up Hill now -- WWE needs the debauchery
and death.

Yes, I know, I know, you're flabbergasted. Can't believe I said it. Is he serious or kidding? Only
the Warriorman knows,

But they do and we all know it...
For a couple of reasons. One, it lessens the headaches over what to do with used-up talent
begging to be kept on the payroll for life. And it's a quick, non-litigious way to get rid of done-

for talent who have their sights set on becoming sycophantic agents (these guys can't afford
drugs so they never die). Unlikely to admit it, this selective elimination is a convenience I’m

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sure WWE would like to be able to depend on. Odds of that are getting better, you have to
agree,

Two, and most importantly, the debauchery and death makes them stand out from the
ubiquitous cultural degeneracy. It’s competitive out there and the provocative envelope has
been pushed so far it’s inside out. What else depraved to do? You have to do something
specially sick to get attention these days. The drug-induced deaths of former superstars are
better scripts than even if a bunch of junkie necrophiliacs were writing the stories.

Nobody in the WWE cares, And guess what? They aren’t obliged to. The person least likely to
Say it, I must, It takes a lot of effort not to feel sorry for Vince sometimes. He teally does have
to deal with a ton of pathetic personalities. Guys with no real guts, just fake ones. Guys who
don't have any principles, no personal self-worth or power. Guys who won’t stand up for
anything. Of course, these kinds of character traits are prerequisites today to be qualified to
work for the McMahons. And they never go out of style. In fact, It is very clear some previous
generation guys have bottomless pits capable of swallowing loads of their own rancid pride
and plenty of Vince's s#% &. Still, juggling all the human deficiency must be tiring.

The house that the McMahons built has always been filled with rooms minus mirrors (ask
Hogan who still believes he has hair, and creativity, worth keeping). Too many have fooled
themselves into believing they never noticed instead of what has long been true — their own
faces are the faces they most fear seeing,

Ask any never-made-a-dime-off-the-talents-I’ve-delusionally-convinced-myself-I-have-from-
the-privacy-of-my-own-bedroom pundits. They know — they live there. It’s the address of
their meal ticket. Like cackroaches on counter crumbs, they come out at dark — the dark of
debauchery and death.

Parasites they are on bodies alive; maggots they are on the carcasses of the dead,

Crying and criticizing. Condemning and condoning.

Debauchery and death. Late night punditry thrives on it

They cheer most loudly for the cowards and degenerates to keep from hearing their own
voices screaming back the same disgusting truths about themselves.

Life is not having it both ways. Death awaits all who try to find a way around that.

Who are you? What are you about? What are you willing to put up with? What are you willing
to do? Ask yourself.

Time's up, got to run...

Till we meet up this wrestling aisle again, my Warrior mind keeps growing outside the ring.

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Better than those discussed herein -- Always unafraid and unembarrassed to tell

it. You are
welcome. Your Founding Father of ring intensity, Warrior

BACK TO VAULT

BACK TO MIND

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